AO 199A (Rev..06/19) Order Setting Conditions of Release                                                         Page 1 of 3 Pages



                                             UNITED STATES DISTRICT COURT
                                                                         for the
                                                           Middle District of Tennessee

             United States of America                                       )


             IV,.                                                           )        Case No. 3:21-mj-2668

             Eric Munchel                                                   )
             Defendant                                                      )

                                               ORDER SETTING CONDITIONS OF RELEASE

       IT IS ORDERED that the defendant's release is subject to these conditions:

      (1)           The defendant must not violate federal, state, or local law while on release.

      (2)           The defendant must advise the court or the pretrial services office or supervising officer in writing before making
                    any change of residence or telephone number.

      (3),.         The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
                    the court may impose.
                    The defendant must appear at:
                                                                                              Place




                    on
                                                                            Date and Time


                    If blank, defendant will be notified of next appearance.

       (4)          The defendant must sign an Appearance Bond, if ordered.




                            Case 3:21-mj-02668 Document 11 Filed 01/22/21 Page 1 of 3 PageID #: 49
AO 1998 (Rev. 12/11) Additional Conditions of Release                                                                                          Page 2 of 3 Pages
                                                       ADDITIONAL CONDITIONS OF RELEASE
      AI IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

            (5)
              The defendant is placed in the custody of:
              Person or organization
              Address (only if above is an organization)
              City and state                                                                              Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                                Signed:
                                                                                               Custodian                                   Date
(x ) (6) The defendant must:
    (x ) (a) submit to supervision by and report for supervision to the Pretrial Services office as directed. Must call pretrial
                 services once per week.
    (x ) (b) continue or actively seek employment.
    (.. ) (c) continue or start an education program,
    { } (d) surrender any passport to:            the United States District Court Clerk
           (e) not obtain a passport or other international travel document.
    (x. } (f) abide by the following restrictions on personal association, residence, or travel: only within the Middle District of Tennessee unlessgrre-
    approved by Pretrial Services Defendant may not travel outside of the continental United States without court approval. The Defendant must
    participate in all future proceedings as directed. Defendant may not go to Washington, D.C. unless he is appearing for court, meeting with pretrial
    services, or consulting with his attorney.
    (' ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                 including: co - AeF"AtAk",

      ;.(         ) (h) get medical orpsychiatric treatment:

       (          ) (i) 'return to custody each                 at              o'clock after being released at                    o'clock for employment, schooling,
                         or the following purposes:

       (          ) 0) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                         necessary.
       (x        ) (k) not possess a firearm, destructive device, or other weapon.
       (x        ) (1) not use alcohol (              ) at all (x    ) excessively.
       (x        ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                         medical practitioner.
       (acv      ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
                          frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
                         substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
                         substance screening or testing.
       (x        ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                         supervising officer,
       (X        ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                         (        ) (i) Curfew. You are restricted to your residence every day (            ) from                   to                   or (       ) as
                                          directed by the pretrial services office or supervising officer; or
                          (}'d (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
                                          substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
                                          approved in advance by the pretrial services office or supervising officer; or
                          (       ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                          court appearances or other activities specifically approved by the court.
       (x        ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                          requirements and instructions provided.
                         (x ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                                    supervising officer.
       (R.       ).(r) report as soon as possible within 48 hours, to the pretrial services office or supervising officer, every contact with law enforcement
         }    ``         personnel, including arrests, questioning, or traffic stops.
                    (s) shall permit Pretrial Services Officer to visit you at home or elsewhere at any time, and allow Pretrial Services Officer to confiscate any contraband in
                        plain view.
     Lx .)           (-1) 1144V~ltn 4t .6r     ~4 4x45 evPor           -}b   ro~pr' Kj -,v trtWk           St' vtcbS ~        ~6 ytmc" ort aloL~rnwi c

                          Case 3:21-mj-02668 Document 11 Filed 01/22/21 Page 2 of 3 PageID #: 50
AO 199C (Rev. 09/08) Adviceof Penalties                                                                       Page 3 of 3 Pages

                                          ADVICE OF PENALTIES AND SANCTIONS

 TO THE DEFENDANT:

XOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

          Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
 revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
 imprisonment, a fine, or both.
          While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
 and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
 consecutive (i.e., in addition to) to any other sentence you receive.
          It'is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
 Umperwith a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
 to .intimidate a witness, victhn, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
`t.significantly more serious if they involve a killing or attempted killing.
          If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
 you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
          (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined
                not more than $250,000 or imprisoned for not more than 10 years, or both;
          (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not
                more than $250,000 or imprisoned for not more than five years, or both;
          (3) any other felony —you will be fined not more than $250,000 or imprisoned not more than two years, or both;
          (4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.
          A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
 addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                  Acknowledgment of the Defendant

        I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
 of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                         Defendant's Signature



                                                                                             City and State




                                               Directions to the United States Marshal

 O The defendant is ORDERED released after processing.
 ( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
      has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
      the appropriate judge at the time and place specified.         ~.— --~       4


 Date;
                                                                                       Judicial Officers Signature

                                                                       United States Magistrate Judge Jeffery S. Frensley
                                                                                         Printed name and title




                    DISTRIBUTION:     COURT      DEFENDANT        PRETRIAL SERVICE       U.S. ATTORNEY        U.S. MARSHAL



                Case 3:21-mj-02668 Document 11 Filed 01/22/21 Page 3 of 3 PageID #: 51
